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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

 OLIVIA M.,                               )
                                          )
                      Plaintiff,          )
                                          )
 v.                                       ) Docket no. 2:20-cv-00441-GZS
                                          )
 KILOLO KIJAKAZI, Acting                  )
 Commissioner of Social Security,         )
                                          )
                      Defendant.          )


                       ORDER AFFIRMING THE
            RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       On October 20, 2021, the United States Magistrate Judge filed with the Court his

Recommended Decision (ECF No. 23). No objections have been filed. Thus, this Recommended

Decision is hereby ADOPTED.

       It is therefore ORDERED that the commissioner’s decision is hereby AFFIRMED.

       SO ORDERED.

                                               /s/ George Z. Singal
                                               United States District Judge

Dated this 8th day of November, 2021.
